     Case 18-26151-KCF           Doc 33     Filed 01/15/19 Entered 01/15/19 13:47:43                 Desc Main
                                            Document Page 1 of 3
       UNITED STATES BANKRUPTCY COURT
       District of New Jersey



       Albert Russo
       Cn 4853
       Trenton, NJ 08650                                                          Order Filed on January 15, 2019
                                                                                              by Clerk
       (609) 587-6888                                                                 U.S. Bankruptcy Court
                                                                                      District of New Jersey
       Standing Chapter 13 Trustee

       In re:
                                                             Case No.: 18-26151 / KCF

                                                             Hearing Date: 01/09/2019
          Frank M. Punzi, Jr.

                                                             Judge: Kathryn C. Ferguson

                                       Debtor(s)
                                                             Chapter: 13



                                     ORDER CONFIRMING CHAPTER 13 PLAN

     The relief set forth on the following pages, numbered two (2) through three (3) is ORDERED.




DATED: January 15, 2019
Case 18-26151-KCF          Doc 33     Filed 01/15/19 Entered 01/15/19 13:47:43             Desc Main
                                      Document Page 2 of 3
The plan of the debtor having been proposed to creditors, and a hearing having been held on the

confirmation of such plan, and it appearing that the applicable provisions of the Bankruptcy Code have

been complied with; and for good cause shown, it is

ORDERED that the plan of the above named debtor, dated 08/13/2018, or the last amended plan of

the debtor be and it is hereby confirmed.     The Standing Trustee shall make payments in accordance

with 11 U.S.C. § 1326 with funds received from the debtor.


ORDERED that the plan of the debtor is confirmed to pay the Standing Trustee for a period of       36

months.


ORDERED that the debtor shall pay the Standing Trustee, Albert Russo, based upon the following

schedule, which payments shall include commission and expenses of the Standing Trustee in accordance

with 28 U.S.C. § 586:

                         $300.00 for 31 months beginning 02/01/2019

                         The balance of the plan shall be paid by the debtor(s) remitting $700 to the
                         Chapter 13 Trustee by January 15, 2019


ORDERED that the case is confirmed to pay 100% dividend to general unsecured creditors.




ORDERED         that the Standing Trustee shall be authorized to submit, ex-parte, an Amended

Confirming Order, if required, subsequent to the passage of the claims bar date(s) provided under Fed.

R. Bank. P. 3002.



ORDERED that the debtor's attorney be and hereby is allowed a fee pursuant to the filed 2016(b)

Statement. Any unpaid balance of the allowed fee shall be paid to said attorney through the Chapter 13

plan by the Standing Trustee.
Case 18-26151-KCF              Doc 33   Filed 01/15/19 Entered 01/15/19 13:47:43               Desc Main
                                        Document Page 3 of 3
ORDERED that if the debtor should fail to make plan payments or fail to comply with other plan

provisions for a period of more than 30 days, the Standing Trustee may file, with the Court and serve

upon the Debtor and Debtor's Counsel, a Certification of Non-Receipt of Payment and request that the

debtor's case be dismissed. The debtor shall have fourteen (14) days within which to file with the Court

and serve upon the Trustee a written objection to such Certification.



ORDERED that upon completion of the plan, affected secured creditors shall take all steps necessary

to remove of record any lien or portion of any lien discharged.



ORDERED that the Standing Trustee is not authorized to pay post-petition claims filed pursuant to 11

U.S.C. § 1305(a).



ORDERED that student loans are to be paid outside of the Chapter 13 Plan.



ORDERED that the claim of Wells Fargo Bank, court claim #3-1, will be paid as if in the plan, and the

Trustee is authorized to pay such claim.



ORDERED that if the debtor has provided for a creditor to be paid in the plan and no Proof of Claim

is filed by such creditor before expiration of the applicable bar date, the debtor, pursuant to F .R.B.P.

3004, must file a Proof of Claim on behalf of the creditor within 30 days of the expiration of the

applicable bar date. If the time period pursuant to F.R.B.P. 3004 has expired, the debtor must file a

Proof of Claim on behalf of the creditor and file a motion to allow the Trustee to pay the late filed claim,

or the debtor may obtain a Consent Order with the creditor authorizing the Trustee to pay an amount

certain in the plan.



ORDERED as follows:

Federal National Mortgage Association, court claim #4-1, shall be paid outside the Chapter 13 plan.

The Trustee shall make no payments to Federal National Mortgage Association through the Chapter 13

plan.

Federal National Mortgage Association is free to seek stay relief.

Order Confirming Chapter 13 Plan                                                                  Page 3 of 3
